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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE



United States of America

       v.                                       Crim. N o . QCf -CC -) 5?-)- I'S-^L

T n . A ^ A \/ /-s^ ^ ^ ,r ^<i .^ ^



                        ORDER ON VIOLATION OF CONDITIONS

     The defendant appeared before me on this date at a LASER
Review Hearing. During the course of the hearing, the court
determined that the defendant has violated the terms of the LASER
Agreement/Order on Conditions of Release. As a result, the court
enters the following order:


              The defendant shall be detained until                 .
              At the conclusion of incarceration, defendant shall be:

                         Brought before the undersigned judge.

                         Released on                             at              am/pm.
                                                [Date]                  [Time]



               The defendant shall reside in Hampshire House for a
               period of         "^ 0 days^ai^sefeB to commence on
                 _>-&>•J'. (J 7 <3-010     and shall observe the rules of
               thatP facility.


               The defendant shall be placed on home detention for
                     days/months, to commence on                   .
               During this time, the defendant shall remain at his
               place of residence except for employment and other
               activities approved in advance by the probation
               officer. The defendant shall maintain a telephone at
               his place of residence without any special services,
               modems, answering machines, or cordless telephones for
               the above period. The defendant shall wear an
               electronic device and shall observe the rules specified
               by the Probation Office. The defendant shall pay for
               the cost of electronic monitoring to the extent he is
               able as determined by the probation officer.
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              The defendant shall be subject to the following
              additional or-modified conditions:
                  ^ No
                  —   lsjejiit-*U&kJg     ".r   ay,




     Prior conditions of release not inconsistent with this order
shall remain in full force and effect.


                                                          SO ORDERED,

          (
Date:         llmi h
          ll^/j
                                                          Joseph N< La^iante
                                                          United/States District Judge




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